     Case 1:25-cv-00163-DAE   Document 32   Filed 06/23/25      Page 1 of 20




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                                                                       FILED
                               AUSTIN DIVISION
                                                                     June 23, 2025
                                                                CLERK, U.S. DISTRICT COURT
                                                                WESTERN DISTRICT OF TEXAS
JED WALLACE,                         §
                                                                   Christian Rodriguez
                                                             BY: ________________________________
STREET RELATIONS, INC.,              §                                               DEPUTY
                                     §
      Plaintiffs,                    §
                                     §
V.                                   §        CASE NO. 1:25-CV-00163-DAE
                                     §
BLAKE LIVELY,                        §
                                     §
      Defendant.                     §

 DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS THE AMENDED
 COMPLAINT FOR LACK OF PERSONAL JURISDICTION, IMPROPER VENUE,
   AND FAILURE TO STATE A CLAIM UNDER FEDERAL RULES OF CIVIL
               PROCEDURE 12(b)(2), 12(b)(3), AND 12(b)(6)
         Case 1:25-cv-00163-DAE                         Document 32                 Filed 06/23/25                Page 2 of 20




                                                  TABLE OF CONTENTS
TABLE OF CONTENTS ............................................................................................................... ii
TABLE OF AUTHORITIES ........................................................................................................ iii
I.        ARGUMENT ..................................................................................................................... 2
          A.        THIS CASE SHOULD BE DISMISSED UNDER THE FIRST-TO-FILE
                    RULE AND BECAUSE VENUE IS IMPROPER. ............................................... 2
                    1.         There Is Substantial Overlap Between The NY Litigation And This
                               Case. ........................................................................................................... 2
                    2.         Venue Is Improper Because, As Plaintiffs Concede, A Substantial
                               Part Of The Events Giving Rise To The Claim Did Not Occur In
                               This District. .............................................................................................. 4
          B.        THE COURT LACKS PERSONAL JURISDICTION OVER MS.
                    LIVELY. ................................................................................................................ 6
                    1.         The Rule 202 Petition Does Not Subject Ms. Lively To Personal
                               Jurisdiction. ................................................................................................ 6
                    2.         The CRD Complaint Is Not Directed At Texas. ........................................ 7
                    3.         Jurisdictional Allegations Made “On Information And Belief” That
                               Occurred After The Complaint Was Filed Do Not Establish
                               Personal Jurisdiction. ................................................................................. 9
          C.        PLAINTIFFS FAIL TO STATE A CLAIM FOR DEFAMATION. ................... 10
                    1.         The FAC Does Not Comply With Rule 8. ............................................... 10
                    2.         Plaintiffs Concede That The Complaint Does Not Plausibly Plead
                               Any Statements Capable Of A Defamatory Meaning.............................. 11
                    3.         Plaintiffs Fail To Sufficiently Plead Fault. .............................................. 11
                    4.         Plaintiffs Have Failed To Sufficiently Allege Defamation Per Se,
                               Which Means They Must But Have Failed To Plead Damages. ............. 12
                    5.         The CRD Complaint Is Privileged Under California Law....................... 13
                               a.         Plaintiffs Concede That The Litigation Privilege Protects
                                          The Statements In The CRD Complaint. ..................................... 13
                               b.         The Common Law And California Fair Report Privilege
                                          Protects Any Sharing Of The CRD Complaint To The
                                          Media. .......................................................................................... 14
                               c.         The Sexual Harassment Privilege Protects Ms. Lively’s
                                          Statements. ................................................................................... 15
II.       CONCLUSION ................................................................................................................ 15
CERTIFICATE OF SERVICE .................................................................................................... 16


DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS                                                                                               ii
         Case 1:25-cv-00163-DAE                        Document 32               Filed 06/23/25             Page 3 of 20




                                               TABLE OF AUTHORITIES

Cases                                                                                                                          Page(s)

Black v. N. Panola Sch. Dist.,
   461 F.3d 584 (5th Cir. 2006) .........................................................................................6, 10, 11

Calder v. Jones,
   465 U.S. 783 (1984) ...................................................................................................................8

Diebold Election Sys., Inc. v. AI Tech., Inc.,
   562 F. Supp. 2d 866 (E.D. Tex. 2008) .......................................................................................9

In re Doe,
    444 S.W.3d 603 (Tex. 2014)......................................................................................................7

In re Elliott,
    504 S.W.3d 455 (Tex. App.—Austin 2016, orig. proceeding) ..................................................7

Epic Tech, LLC v. Arno Res., LLC,
   No. 1:20-CV-577-LY, 2020 WL 5351078 (W.D. Tex. Sept. 4, 2020) ......................................4

Fielding v. Hubert Burda Media, Inc.,
    415 F.3d 419 (5th Cir. 2005) .....................................................................................................8

Halliburton Energy Servs., Inc. v. Ironshore Specialty Ins. Co.,
   921 F.3d 522 (5th Cir. 2019) .....................................................................................................7

Hawbecker v. Hall,
  88 F. Supp. 3d 723 (W.D. Tex. 2015)........................................................................................6

Immanuel v. Cable News Network, Inc.,
   No. 4:21-CV-00587, 2021 WL 7711020, Dkt. 10 (E.D. Tex. Dec. 17, 2021) ..........................5

Immanuel v. Cable News Network, Inc.,
   No. 4:21-CV-00587, 2022 WL 1748252 (E.D. Tex. May 31, 2022) ........................................5

Inspection Leasing Inc. v. Tavas LLC,
    No. 1:24-CV-00319-DAE, 2024 WL 4329035 (W.D. Tex. Aug. 30, 2024) .........................7, 8

Int’l Fid. Ins. Co. v. Sweet Little Mexico Corp.,
    665 F.3d 671 (5th Cir. 2011) .....................................................................................................4

Johnson v. TheHuffingtonPost.com, Inc.,
   21 F.4th 314 (5th Cir. 2021) ......................................................................................................9

Kinect Solar, LLC v. Panasonic Corp. of N. Am.,
   No. 1:20-CV-378-LY, 2020 WL 6385292 (W.D. Tex. Oct. 30, 2020) ...................................13



DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS                                                                                       iii
          Case 1:25-cv-00163-DAE                        Document 32                Filed 06/23/25              Page 4 of 20




Lively v. Wayfarer Studies LLC,
    No. 24-CV-10049, 2025 WL 1637019 (S.D.N.Y. June 9, 2025) ................................12, 13, 14

Nunes v. NBCUniversal Media, LLC,
   582 F. Supp. 3d 387 (E.D. Tex. 2022) .......................................................................................6

Panda Brandywine Corp. v. Potomac Elec. Power Co.,
   253 F.3d 865 (5th Cir. 2001) .....................................................................................................9

Pervasive Software Inc. v. Lexware GmbH & Co. KG,
   688 F.3d 214 (5th Cir. 2012) .....................................................................................................7

Salermo v. Hughes Watters & Askanase LLP,
    516 F. Supp. 3d 696 (S.D. Tex. 2021) .......................................................................................9

Seiferth v. Helicopteros Atuneros, Inc.,
    472 F.3d 266 (5th Cir. 2006) .....................................................................................................7

Smilde v. Snow,
   73 Fed. Appx. 24 (5th Cir. 2003) ...............................................................................................9

Stratta v. Roe,
    No. 6:18-CV-00114-ADA, 2021 WL 1199634 (W.D. Tex. Mar. 30, 2021) .............3, 5, 14, 15

Utterkar v. Ebix, Inc.,
    No-14-cv-02250, 2015 WL 5027986 (N.D. Cal. Aug. 25, 2015) ..............................................9

Walden v. Fiore,
   571 U.S. 277 (2014) ...................................................................................................................6

Watkins v. Tex. Dep’t of Criminal Justice,
   269 Fed. Appx. 457 (5th Cir. 2008) .........................................................................................12

Statutes

Cal. Civ. Code § 47.1 .....................................................................................................................13

Cal. Civ. Code § 47.1(a) ................................................................................................................15

Cal. Civ. Code § 47.1(d) ................................................................................................................15

Other Authorities

Tex. R. Civ. P. 202.1........................................................................................................................7




DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS                                                                                          iv
       Case 1:25-cv-00163-DAE            Document 32        Filed 06/23/25       Page 5 of 20




        Ms. Lively files this Reply in Support of her Motion to Dismiss the FAC (Dkt. 26

(“Motion” or “Mot.”)) and in response to Plaintiffs’ Opposition (Dkt. 29 (“Opposition” or “Opp.”))

to the same. 1 Neither Plaintiffs’ amendment nor their Opposition can save their defamation case

against Ms. Lively. Despite rewriting their initial complaint and redesigning their original claims,

Plaintiffs still have failed to demonstrate that Texas is the appropriate venue or jurisdiction for

their claims (it is not) or that their defamation claim can survive their failure to meet basic pleading

requirements and the multiple applicable privileges that bar it.

        As to venue, the First-to-File Rule demands dismissal in deference to the NY Litigation,

which involves identical facts, witnesses, and questions of law. By asserting a defamation claim

against Ms. Lively based on statements made in her CRD Complaint, Plaintiffs have put directly

at issue the truth of Ms. Lively’s allegations (which are already subject to litigation in New York).

Moreover, until June 9, 2025—when the First-Filed Court dismissed their defamation claim with

prejudice—the NY Wayfarer Plaintiffs asserted a defamation claim based on the exact same legal

theories as Plaintiffs here. Even if they could overcome the First-to-File Rule, which they cannot,

Plaintiffs grasp at straws to establish venue and jurisdiction. The events giving rise to the alleged

defamation occurred outside of Texas and Ms. Lively’s prior Rule 202 Petition (which was never

even served) cannot support either venue or personal jurisdiction over her. As for the merits, the

FAC fails to state a claim as a matter of law, including because the statements at issue are protected

by the same litigation and fair report privileges that the First-Filed Court already found doomed

the defamation claim of the NY Wayfarer Plaintiffs. 2



1
  This Reply adopts the terms as defined in the Motion. All page numbers to docket entries refer
to the pagination reflected at the ECF stamp at the top of the page.
2
  The Court dismissed the NY Wayfarer Parties’ Amended Complaint “in its entirety.” See Opinion
and Order, attached as Ex. A; SDNY Dkt. 296 at 38. All docket entries in the NY Litigation will
be referred to as “SDNY Dkt. #.”


DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS                                                     1
       Case 1:25-cv-00163-DAE           Document 32        Filed 06/23/25      Page 6 of 20




                                        I. ARGUMENT

A.     THIS CASE SHOULD BE DISMISSED UNDER THE FIRST-TO-FILE RULE AND
       BECAUSE VENUE IS IMPROPER.

       1.      There Is Substantial Overlap Between The NY Litigation And This Case.

       The First-to-File Rule requires dismissal of this lawsuit for the reasons articulated in the

Motion, and especially in light of the First-Filed Court’s recent dismissal of all claims asserted by

the NY Wayfarer Plaintiffs in the NY Litigation. See Mot. at 23-25; Ex. A. 3 The First-Filed Court

dismissed the defamation claim against Ms. Lively with prejudice under California law, holding

that statements in the CRD Complaint alleging harassment and retaliation are protected by the

litigation privilege, and the “act of providing the CRD complaint to the Times” is protected by the

fair report privilege. Ex. A at 80-83. As explained in the Motion, those now-dismissed claims were

nearly identical to the ones Plaintiffs (along with the NY Wayfarer Plaintiffs) first asserted in the

California Complaint and then re-tooled for this lawsuit to avoid the jurisdiction of the First-Filed

Court. See Mot. at 18-21. A comparison of the defamation claim Plaintiffs assert in this litigation

and the dismissed claims in the NY Litigation demonstrates the substantial overlap between them:




The First-to-File Rule requires this Court to defer to and “avoid interference” with the First-Filed


3
 Ms. Lively respectfully reserves all rights to seek appropriate relief, including dismissal, on the
basis of res judicata or collateral estoppel.


DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS                                                  2
       Case 1:25-cv-00163-DAE            Document 32        Filed 06/23/25      Page 7 of 20




Court, which has already adjudicated virtually identical allegations to those at issue in this lawsuit.

       The Opposition ignores, and therefore concedes, that the NY Litigation’s (now-dismissed)

defamation claim is virtually identical to not only the defamation claim asserted here, but also that

previously asserted in the California Complaint. Compare Mot. at 24, with Opp. at 19-20. 4

Plaintiffs mount a single argument with respect to the obvious overlap among these claims against

Ms. Lively: that the NY Litigation Plaintiffs’ lawsuit was about what Ms. Lively purportedly “did

to six of them” and not to the Plaintiffs (by virtue of them choosing not to be plaintiffs in the NY

Litigation). Opp. at 13. But the First-To-File Rule does not require “complete identity of parties.”

It applies where, as here, there is the likelihood of “substantial overlap” between the “core issues,”

“proof,” “questions,” or “subject matter.” Mot. at 23-24 (citing cases, all ignored by Plaintiffs). 5

       Separately from the NY Wayfarer Plaintiffs’ now-dismissed claims, the First-to-File Rule

also requires dismissal because the NY Litigation against the Plaintiffs and the other NY Wayfarer

Defendants is proceeding apace, including on Ms. Lively’s claims that Plaintiffs engaged in a

retaliatory campaign against her. Plaintiffs’ role in that campaign is a central issue in both the CRD

Complaint and the NY Litigation. See Mot. at 16-17. Ignoring that fact, Plaintiffs incorrectly claim

that this “case is about the false accusation that they were involved in the predatory conduct on the

set of the Film.” Opp. at 12. Plaintiffs’ argument overlooks their own pleading, which alleges that

the CRD Complaint contains defamatory accusations that Plaintiffs engaged in a retaliation




4
  Stratta v. Roe, No. 6:18-CV-00114-ADA, 2021 WL 1199634, at *6 (W.D. Tex. Mar. 30, 2021)
(“A party’s failure to respond to arguments raised in a Rule 12 motion constitutes waiver or
abandonment of those issues.”).
5
  Plaintiffs repeatedly point out that Ms. Lively added Plaintiffs as parties to the NY Litigation
after Plaintiffs initiated the lawsuit. Opp. at 7. They do not argue that the timing makes this the
first-filed case, nor can they because the rule does not require identity of parties. Moreover, as
discussed below, Plaintiffs ignore that the only reason they filed this lawsuit is because they knew
Ms. Lively was planning to imminently add them as parties in the NY Litigation.


DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS                                                       3
       Case 1:25-cv-00163-DAE           Document 32        Filed 06/23/25      Page 8 of 20




campaign, i.e. the exact conduct at issue in the NY Litigation. Mot. at 22 (citing Dkt. 21 ¶¶ 44, 45-

50). The veracity of the statements about Plaintiffs’ participation in the retaliatory scheme is the

“core issue” in both cases, and the proof adduced would be the same. Thus, there is unquestionable

overlap between the two cases. Int'l Fid. Ins. Co. v. Sweet Little Mexico Corp., 665 F.3d 671, 678

(5th Cir. 2011). Even if the CRD Complaint accused Plaintiffs of sexually harassing Ms. Lively—

which it plainly does not (see Mot. at 18-19, 35)—that would not change the fact that the “core

issues,” “proof,” and “questions” about the on-set harassment are a central subject in the NY

Litigation and currently the subject of active litigation. 6 The First-to-File Rule necessitates the

dismissal of this case because its “subject matter” entirely overlaps with the active NY Litigation.

       Further, the Opposition does not even attempt to address Plaintiffs’ admission in the

Original Complaint that they filed this case in Texas because they were “threatened with liability”

and hoped for “an early adjudication without waiting until [Ms. Lively] should see fit to begin an

action” against them in New York. Dkt. 1 ¶ 18. Such a race to the courthouse shortly after dodging

service for pre-suit discovery 7 should not be rewarded by this Court. See Epic Tech, LLC v. Arno

Res., LLC, No. 1:20-CV-577-LY, 2020 WL 5351078, at *7 (W.D. Tex. Sept. 4, 2020), report and

recommendation adopted, No. 1:20-CV-577-LY, 2021 WL 2431340 (W.D. Tex. Jan. 11, 2021).

       2.      Venue Is Improper Because, As Plaintiffs Concede, A Substantial Part Of The
               Events Giving Rise To The Claim Did Not Occur In This District.

       The FAC should be dismissed for improper venue because a substantial part of the events

giving rise to Plaintiffs’ defamation claim did not occur in Texas. Plaintiffs concede both that

courts look to “the defendant’s conduct and where that conduct took place” in determining venue


6
  Discovery is nearing a conclusion in the NY Litigation with a substantial completion of document
production deadline of July 1, 2025 and conclusion of all fact discovery by August 14, 2025.
SDNY Dkt. 58. Plaintiffs have already engaged in discovery, fact finding, and will soon be
deposed in the NY Litigation, after unsuccessfully asking for a stay. SDNY Dkt. 309.
7
  See Dkt. 26-9, 26-10.


DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS                                                  4
       Case 1:25-cv-00163-DAE           Document 32        Filed 06/23/25      Page 9 of 20




under § 1391(b)(2) and that Ms. Lively’s operative conduct (filing the CRD Complaint) occurred

in California. Compare Mot. at 25-27, with Opp. at 20-23. 8 To defend their choice of venue,

Plaintiffs focus solely on “injury (reputation and financial loss in Texas) and publication

(distribution and repetition to Texas audience),” even though neither occurrence reflects in-state

conduct by Ms. Lively. Opp. at 21. Plaintiffs accuse Mr. Lively of providing the CRD Complaint

to The New York Times, not any Texas-based outlets, and allege that the CRD Complaint was

republished “around the world.” Dkt. 21 ¶¶ 6, 18, 24, 65, 68. In a separate case, Plaintiffs’ law

firm successfully argued in a Motion to Dismiss for Improper Venue that the type of allegations

Plaintiffs make here are insufficient as a matter of law to establish venue:

       Here, none of the relevant activities of CNN took place in the Eastern District. CNN
       is based in Georgia, many of the reporters involved in the alleged defamatory
       publications are in New York, and the alleged defamatory statements at issue relate
       to events that occurred in Washington, DC or near Houston. In fact, the only alleged
       connection between CNN and this District is that the CNN’s reports “were
       intentionally broadcast and published throughout Texas” – just as they were in
       every other state – and that Dr. Immanuel “suffered substantial injury” in the
       Eastern District. See Compl. ¶ 19. These conclusory allegations fail as a matter of
       law to provide a basis for venue under § 1391(b)(2).

Immanuel v. Cable News Network, Inc., No. 4:21-CV-00587, 2021 WL 7711020, Dkt. 10 at 9

(E.D. Tex. Dec. 17, 2021). Like in Immanuel, Plaintiffs’ conclusory allegations about in-state

injury and publication by media outlets “fail as a matter of law to provide a basis for venue under

§ 1391(b)(2).” Id.; Immanuel v. Cable News Network, Inc., No. 4:21-CV-00587, 2022 WL

1748252, at *6 (E.D. Tex. May 31, 2022) (finding lack of venue in the Eastern District). Any

incidental harm Plaintiffs may have incurred in Texas or publication of the CRD Complaint by

media outlets indicates nothing about whether Ms. Lively engaged in conduct in this District (she



8
  Plaintiffs in their Opposition have abandoned the Information and Belief Statements as part of
their affirmative case (Stratta, 2021 WL 1199634, at *6), and do not claim them as a basis for
venue. Opp. at 21-24.


DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS                                                5
      Case 1:25-cv-00163-DAE            Document 32         Filed 06/23/25      Page 10 of 20




did not) and fails to provide a basis to establish venue. 9 Plaintiffs’ myopic focus on their presence

in the state also ignores that Street only became a resident of Texas after filing this lawsuit and

was incorporated in California when Ms. Lively filed the CRD Complaint and for the past 16 years.

Dkt. 26-3, 26-4, 26-5. They also fail to address that Wallace admits he was “doing business and

providing” services to “individuals in California” and that he “considered the impact of” his work

to be in California. Dkt. 26-13 ¶ 28. Wallace also “travels a lot” and is “rarely home.” Opp. at 6.

       Finally, Plaintiffs continue to claim venue is proper based on the Rule 202 Petition without

answering the Motion’s argument that the “substantial events” at issue in the Rule 202 Petition

(Mr. Wallace’s conduct in the retaliatory campaign) are inapposite to the “substantial” activities

from which Plaintiffs’ claims arise (the CRD Complaint). Compare Mot. at 26-27, with Opp. at

21-23. That venue in this District may have been proper in the Rule 202 Petition because Ms.

Lively’s inquiry arose out of Mr. Wallace’s in-state conduct does not make it proper for a claim

arising out of Ms. Lively’s out-of-state conduct.

B.     THE COURT LACKS PERSONAL JURISDICTION OVER MS. LIVELY.

       1.      The Rule 202 Petition Does Not Subject Ms. Lively To Personal Jurisdiction.10

       Plaintiffs continue to argue that the Rule 202 Petition seeking pre-suit discovery against

Wallace subjects Ms. Lively to this Court’s jurisdiction. Opp. at 14-16. Plaintiffs, however, fail to

address that the filing of that Petition and non-suit 14 days later without ever serving Mr. Wallace


9
  In support of their injury argument, Plaintiffs only cite to one non-binding defamation case—
Hawbecker v. Hall, 88 F. Supp. 3d 723, 731 (W.D. Tex. 2015). But Hawbecker relies on a single
binding case, Walden v. Fiore, 571 U.S. 277, 282, n. 5 (2014), which was resolved on jurisdictional
grounds and expressly did not decide venue.
10
   Plaintiffs have abandoned any argument that Ms. Lively is subject to general personal
jurisdiction. Black v. N. Panola Sch. Dist., 461 F.3d 584, 588 n.1 (5th Cir. 2006). Plaintiffs
complain that Ms. Lively does not submit an affidavit or declaration “controverting” their personal
jurisdiction allegations. Opp. at 2. But there is no need to contest jurisdictional allegations that are
insufficient on the face of the pleading. See Nunes v. NBCUniversal Media, LLC, 582 F. Supp. 3d
387, 394 (E.D. Tex. 2022).


DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS                                                     6
      Case 1:25-cv-00163-DAE             Document 32         Filed 06/23/25       Page 11 of 20




does not constitute litigating “extensively on the merits.” Compare Mot. at 27-29, with Opp. at 15-

16. Instead, Plaintiffs attempt to argue that the Rule 202 Petition is akin to an “original action”

because it sounds in equity. Opp. at 15-16. But they offer no authority for that proposition

(including the one case they cite). Id. 11 Nor do Plaintiffs attempt to distinguish the cases that Ms.

Lively relied upon holding that a Rule 202 Petition does not constitute an original action, except

to say that Halliburton Energy Servs., Inc. v. Ironshore Specialty Ins. Co., 921 F.3d 522 (5th Cir.

2019) is not applicable as it involved filing a responsive pleading conditioned on a jurisdictional

challenge. Cf. Opp. at 15, with Mot. at 27-28. But what Halliburton reiterates is simple: when a

defendant has “never initiated an original action in Texas,” like Ms. Lively here, a plaintiff “must

still satisfy the standard minimum-contacts analysis.” Halliburton, 921 F.3d at 541-42.

        Plaintiffs also fail to address that even if the Rule 202 Petition constituted an “extensively

litigated” original action, it still would be insufficient to establish specific jurisdiction because this

lawsuit does not arise out of the Rule 202 Petition. Plaintiffs cite no authority supporting the notion

that an unserved Rule 202 Petition confers jurisdiction over Ms. Lively in a separately initiated

lawsuit. See Pervasive Software Inc. v. Lexware GmbH & Co. KG, 688 F.3d 214, 227 n.7 (5th Cir.

2012); Seiferth v. Helicopteros Atuneros, Inc., 472 F.3d 266, 275 (5th Cir. 2006).

        2.      The CRD Complaint Is Not Directed At Texas.

        Plaintiffs argue that personal jurisdiction is proper under Tavas and Calder. See Inspection

Leasing Inc. v. Tavas LLC, No. 1:24-CV-00319-DAE, 2024 WL 4329035 (W.D. Tex. Aug. 30,



11
   The cases Plaintiffs cite are irrelevant and do not support the theory that filing a Rule 202 Petition
in one case determines personal jurisdiction in another case. In re Doe, 444 S.W.3d 603, 605–07
(Tex. 2014), states that a Rule 202 petition must be filed in a court with personal jurisdiction over
the defendant. In re Elliott, 504 S.W.3d 455, 466– 67 (Tex. App.—Austin 2016, orig. proceeding)
is not about personal jurisdiction, is non-binding, conflicts with cases cited in the Motion to
Dismiss (Dkt. 26 at 17), and does not alter the plain language of the statute that a Rule 202 petition
is used “to investigate a potential claim or suit.” Tex. R. Civ. P. 202.1 (emphasis added).


DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS                                                       7
      Case 1:25-cv-00163-DAE            Document 32        Filed 06/23/25      Page 12 of 20




2024); Calder v. Jones, 465 U.S. 783 (1984). Not so. Tavas should not guide this Court because it

involves a breach of contract claim that arose out of defendants who “directed a tax return filing

to the State of Texas and thereby conducted business in the State of Texas,” knowing the filing

would be sent to Texas. Tavas, 2024 WL 4329035, at *3. By contrast, Plaintiffs’ defamation claim

arises out of Ms. Lively filing the CRD Complaint in California and allegedly sending it to press

located outside of Texas. Unlike the defendants in Tavas, Ms. Lively neither directed her conduct

to Texas nor conducted business in Texas. Plaintiffs claim for the first time in their Opposition

that Ms. Lively is subject to jurisdiction in Texas because she “contracted with Texas process

servers” but, unlike in Tavas, this case does not arise out of that alleged contract.

       Plaintiffs approach Calder in a vacuum without acknowledging a litany of binding

defamation cases in the Fifth Circuit explaining that the operative Calder-related questions are

whether the forum state was the “focal point” of the publication, the publication was published in

the forum state, and the speaker relied on sources in the forum state. Mot. at 29-30. Here, the

answer is “no” to all three. Plaintiffs assert no facts showing that Texas is the “focal point” of the

CRD Complaint, that Ms. Lively published the CRD Complaint in Texas, or that Ms. Lively relied

on Texas sources. To the contrary, Plaintiffs admit that the CRD Complaint was republished

“around the world” (Dkt. 21 ¶¶ 18, 24, 65, 68) and that, with respect to Wallace’s work mentioned

in the CRD Complaint, he was “doing business and providing” services to “individuals in

California” (Dkt. 26-13 ¶ 28).

       Plaintiffs rely on the fleeting, non-material reference in the CRD Complaint that Wallace

is “based in Austin, Texas.” Opp. at 8, 11. But such a “collateral” reference to Texas does not

confer personal jurisdiction. See Fielding v. Hubert Burda Media, Inc., 415 F.3d 419, 426 (5th Cir.

2005). Even so, Plaintiffs were not exclusively tied to Texas. After all, Street was a California




DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS                                                   8
      Case 1:25-cv-00163-DAE            Document 32        Filed 06/23/25      Page 13 of 20




corporation at the time (Opp. at 8) and the “impact of” Plaintiffs’ work (which factually underpins

the CRD Complaint) was felt in California (Dkt. 26-13 ¶ 28).

       3.      Jurisdictional Allegations Made “On Information And Belief” That Occurred
               After The Complaint Was Filed Do Not Establish Personal Jurisdiction.

       Plaintiffs appear to retreat from their theory that the Information and Belief Statements

confer jurisdiction by referencing the argument only in a footnote and header without any

substantive argument. Compare Dkt. 21¶¶ 60-64, with Opp. at 8, 13. Plaintiffs do not address and

thus, waive opposition to, Ms. Lively’s argument that a plaintiff cannot meet the pleading standard

based solely on allegations brought “on information and belief.” See Salermo v. Hughes Watters

& Askanase LLP, 516 F. Supp. 3d 696, 710 (S.D. Tex. 2021). 12 Plaintiffs also no longer claim that

they are seeking liability with respect to the Information and Belief Statements (Opp. at 18), which

defeats any attempt to rely on them for purposes of specific jurisdiction because this lawsuit does

not arise out of them. Johnson v. TheHuffingtonPost.com, Inc., 21 F.4th 314, 317 (5th Cir. 2021).

Even if Plaintiffs were able to surpass those fatal hurdles, the Information and Belief Statements

would not support subjecting Ms. Lively to personal jurisdiction because they occurred in Texas

after Plaintiffs filed this suit and personal jurisdiction, like venue, is “determined at the outset of

litigation and [is] not affected by subsequent events.” Smilde v. Snow, 73 Fed. Appx. 24, 26 (5th

Cir. 2003); see also Diebold Election Sys., Inc. v. AI Tech., Inc., 562 F. Supp. 2d 866, 872 (E.D.

Tex. 2008) (“The court is to consider the existence of personal jurisdiction on the basis of the facts

as they existed at the time the complaint was filed.”).


12
  In Utterkar v. Ebix, Inc., a plaintiff sought leave to amend its complaint after asserting personal
jurisdictional allegations in response to a motion to dismiss, whereas Plaintiffs here fail to pursue
their allegations brought “on information and belief” in response to Ms. Lively’s Motion to
Dismiss. No-14-cv-02250, 2015 WL 5027986, at *4 (N.D. Cal. Aug. 25, 2015). Regardless, the
Fifth Circuit has found that personal jurisdiction allegations made “on information and belief” are
“insufficient to establish a prima facie case for jurisdiction.” Panda Brandywine Corp. v. Potomac
Elec. Power Co., 253 F.3d 865, 869 (5th Cir. 2001); see also Dkt. 26 at 19-20 (collecting cases).


DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS                                                    9
      Case 1:25-cv-00163-DAE          Document 32        Filed 06/23/25      Page 14 of 20




C.     PLAINTIFFS FAIL TO STATE A CLAIM FOR DEFAMATION.

       Plaintiffs confirm that they “complain[] of two publications: (i) the CRD Complaint and

(ii) the Draft Complaint,” which were “filed” and “published to the media.” 13 Opp. at 18. By so

doing, Plaintiffs have abandoned their freshly derived claim that the Information and Belief

Statements defamed them. Black, 461 F.3d at 588, n.1. Accordingly, the Court need only consider

whether the FAC states a claim for defamation based on statements contained within the CRD

Form and the Attached CRD Complaint. It does not for the reasons stated in the Motion and below.

       1.      The FAC Does Not Comply With Rule 8.

       Plaintiffs gloss over Ms. Lively’s argument that the FAC does not comply with Rule 8.

They include a single footnote on the topic, claiming that the case cited in the Motion is

“inapplicable” and that the FAC complies with Rule 8 because it “specifically alleges” that Ms.

Lively “provided all of this information to the report and the newspaper.” Compare Mot. at 32-34,

with Opp. at 18 fn.11. Plaintiffs ignore that their own pleading defines “Lively” to include any

number of unspecified people, including anyone at any of the corporate entities that she or her

husband owns, and fails to include any allegations either with respect to any specific statements

published or that demonstrate agency. See Mot. at 32-34. As far as their attempt to distinguish

Redden v. Smith & Nephew, Inc., Plaintiffs ignore Ms. Lively’s reliance on other jurisprudence,

including from this District, that requires far more specificity to comply with Rule 8. See Mot. at

32 (citing cases). Further, Plaintiffs fail to address falsity in detail. Without supporting facts,

Plaintiffs conclude that the FAC “alleges that these statements were (and are) false.” Opp. at 20.




13
  Ms. Lively refers to the “CRD Complaint” as both the required intake form (Dkt. 21-1 at 5-7)
and the attachment detailing the misconduct in the form of a federal complaint (Dkt. 21-2). Dkt.
26 at 4. Plaintiffs, however, refer to these separately as the “CRD Complaint” and “Draft
Complaint.” Opp. at 4.


DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS                                               10
      Case 1:25-cv-00163-DAE           Document 32        Filed 06/23/25      Page 15 of 20




       2.      Plaintiffs Concede That The Complaint Does Not Plausibly Plead Any
               Statements Capable Of A Defamatory Meaning.

       Plaintiffs fail to confront Ms. Lively’s argument that the FAC fails to state a claim for

defamation by implication because the inference on which it is based—that a reader would view

the caption of the CRD Form and Attached CRD Complaint and infer that Plaintiffs engaged in

sexual harassment—is unreasonable. Compare Mot. at 34-38, with Opp. at 25-27. Plaintiffs have

thus abandoned their implied defamation claim by failing to defend it, and they rest their case

solely on the Challenged Statements at FAC ¶¶ 29 and 30. Black, 461 F.3d at 588, n.1; Mot. at 22.

       Plaintiffs’ response to the argument that the allegedly defamatory content is not more

damaging than the admitted truth misses the point. See Opp. at 26; Mot. at 36. Plaintiffs assert that

it would be detrimental to their name to falsely accuse them of “weaponizing a digital army” in

retaliation for reporting sexual harassment. Opp. at 20. But the admitted truth is that Ms. Lively

reported sexual harassment to Wayfarer, which prompted TAG to approach Plaintiffs about

engaging in a “social/digital mitigation and remediation” campaign on behalf of Wayfarer, which

prompted Plaintiffs to, in fact, perform a “job” for Wayfarer, TAG, and Baldoni. Mot. at 36. In

other words, Plaintiffs admit that Wayfarer hired them to engage in a public relations mitigation

and remediation plan in direct response to Ms. Lively’s reports of sexual harassment. There is no

difference between that truth, and the alleged defamation.

       3.      Plaintiffs Fail To Sufficiently Plead Fault.

       Plaintiffs further fail to overcome that the FAC does not plead any facts demonstrating that

Ms. Lively should have known that Plaintiffs did not assist the Wayfarer parties, TAG, Nathan,

and Abel in their retaliatory efforts to “bury” her. Compare Mot. at 38-40, with Opp. at 27. Nor

can they. The First-Filed Court recently considered a similar allegation in the NY Litigation,

holding that there is “no basis to infer anything other than that” Ms. Lively filed her complaint in




DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS                                                 11
      Case 1:25-cv-00163-DAE           Document 32         Filed 06/23/25      Page 16 of 20




that case, based on the CRD Complaint, in “good faith.” Ex. A; Lively v. Wayfarer Studies LLC,

No. 24-CV-10049, 2025 WL 1637019, at *37 (S.D.N.Y. June 9, 2025). The only “fact” to which

Plaintiffs point with respect to fault is the Rule 202 Petition. However, Plaintiffs do not address

any of the arguments in the Motion, including how the act of filing the Rule 202 Petition after

publishing the allegedly defamatory statements possibly could demonstrate state of mind at the

time of publication. See Mot. at 39. For the same unrebutted reasons explained in the Motion, the

Rule 202 Petition does not support a finding of negligence. Id.

       4.      Plaintiffs Have Failed To Sufficiently Allege Defamation Per Se, Which Means
               They Must But Have Failed To Plead Damages.

       Plaintiffs’ defamation per se hinges on arguing that Ms. Lively accuses Plaintiffs of sexual

harassment. Opp. at 22. But the CRD Complaint speaks for itself, and it does not include any

accusation that Plaintiffs engaged in sexual harassment. Dkt. 21-1, 21-2; Watkins v. Tex. Dep’t of

Criminal Justice, 269 Fed. Appx. 457, 465 (5th Cir. 2008) (affirming dismissal where plaintiff

“presented no evidence of any specific defamatory statements”). Plaintiffs’ claim that accusing

Wallace of “weaponize[ing] a digital army” harms him in his profession is not credible since he

has built a book of clients by doing just that to help his clients mitigate crises. Dkt. 21 ¶¶ 19, 22.

Indeed, Plaintiffs’ ability to weaponize a digital army and launch the type of social media campaign

they did with respect to Ms. Lively could be good for Plaintiffs’ business. Wallace admits that the

real harm to his profession is not what Ms. Lively said (which he must prove to state a claim for

defamation per se) but rather that his work for the Wayfarer Parties has lost its cloak of anonymity.

See Opp. at 29. That Plaintiffs’ covert actions are now the subject of litigation does not make Ms.

Lively’s CRD Form and Attached CRD Complaint defamatory per se.

       Plaintiffs’ attempt to show that they have sufficiently alleged damages by pointing to vague

allegations projecting a $1,000,000 loss fails. Opp. at 22 (citing Dkt. 21 ¶¶ 51-55). Plaintiffs do



DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS                                                  12
      Case 1:25-cv-00163-DAE           Document 32         Filed 06/23/25      Page 17 of 20




not, and cannot, point to any factual allegations demonstrating how the allegedly defamatory

content caused such alleged loss. See Mot. at 40.

       5.      The CRD Complaint Is Privileged Under California Law.

       Plaintiffs state that “Texas law should apply” but fail to provide any argument or basis for

why that should be the case. See Opp. at 23. 14 For the reasons explained in the Motion, California

law should apply. Mot. at 41. The First-Filed Court made such a determination in the NY Litigation

when it determined that the statements in the CRD Complaint and the alleged “leak” of the CRD

Complaint were privileged. Ex. A; Lively, 2025 WL 1637019, at *18. 15 This Court should do the

same, especially considering that Plaintiffs do not even attempt to mount a serious argument for

the application of Texas law. Under California law, the litigation, fair report, and sexual

harassment privileges, which appear on the face of the FAC, bar Plaintiffs’ defamation claim.

               a.      Plaintiffs Concede That The Litigation Privilege Protects The
                       Statements In The CRD Complaint.

       Plaintiffs concede that the statements in the CRD Complaint are protected under the

litigation privilege under California law, which is consistent with the First-Filed Court’s holding.

Ex. A; Lively, 2025 WL 1637019, at *35-36 (citing People ex rel. Gallegos v. Pac. Lumber Co.,

158 Cal. App. 4th 950, 958, 70 Cal. Rptr. 3d 501, 508 (2008) (the litigation privilege is “interpreted

broadly” to apply to “any communication” having “some relation” to a judicial or quasi-judicial

proceeding, “irrespective of the communication’s maliciousness or untruthfulness”) (internal



14
   Plaintiffs merely conclude, without support, that “[i]n any event Texas law should apply,”
California law is an “incorrect choice,” New York law is “more plausible choice than California,”
and that “Texas law should apply and the California Civil Code § 47.1 privilege should not.” Opp.
at 23-25; see Kinect Solar, LLC v. Panasonic Corp. of N. Am., No. 1:20-CV-378-LY, 2020 WL
6385292, at *4 (W.D. Tex. Oct. 30, 2020) (a plaintiff must do more than respond in “conclusory
fashion” to an argument in a motion to dismiss).
15
   The First-To-File Rule and issue preclusion favor deferring to the decision in the NY Litigation.
See, supra, n. 3, § I.A.1.


DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS                                                  13
      Case 1:25-cv-00163-DAE           Document 32         Filed 06/23/25      Page 18 of 20




quotations omitted)). Instead, Plaintiffs argue that the litigation privilege under California law

“does not protect press releases.” Opp. at 23-24. But Plaintiffs never allege that the CRD Form or

the Attached CRD Complaint are “press releases” or that Lively or her agents issued a “press

release” that included allegedly defamatory statements. Thus, the California cases cited by

Plaintiffs, none of which concern communications made in a judicial or quasi-judicial proceeding,

do not apply. Opp. at 23-24. Moreover, that Ms. Lively or her agents may have “leaked” the CRD

Complaint “to the public” has no bearing on the applicability of the litigation privilege. Id.; Ex. A;

Lively, 2025 WL 1637019, at *35-36.

               b.      The Common Law And California Fair Report Privilege Protects Any
                       Sharing Of The CRD Complaint To The Media.

       The fair report privilege under common law and California law shield Ms. Lively from

liability for allegedly sharing the CRD with the media. Dkt. 21 ¶ 24. 16 The First-Filed Court

confirmed that the California fair report privilege “applies to Lively providing the complaint to the

Times” because it is a “communication to” a “public journal” of statements “said in the course” of

an “official proceeding.” Ex. A; Lively, 2025 WL 1637019, at *36 (citing Cal. Civ. Code § 47(d)).

The court explained that in 1996, the California legislature extended the privilege for this exact

situation—“to protect individuals who communicate litigation statements to the press.” Id.

       In the Opposition, Plaintiffs reinterpret the FAC as purporting to allege that Ms. Lively or

her agents communicated the allegations in the CRD Complaint “as facts” to media, citing

Healthsmart P., Inc. v. Kabateck, 7 Cal. App. 5th 416, 435 (Cal. App. 2d Dist. 2016). Opp. at 25.

But the FAC merely alleges that Ms. Lively “went far beyond merely saying ‘these are my

allegations’” in reference to the contents in the CRD Complaint (Dkt. 21 ¶¶ 32-33), not with



16
  Because Plaintiffs never contest the application of the common law fair report privilege, that
argument is waived. Stratta, 2021 WL 1199634, at *6.


DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS                                                  14
      Case 1:25-cv-00163-DAE             Document 32        Filed 06/23/25     Page 19 of 20




respect to statements to the media (Dkt. 21 ¶ 39). But no matter what Ms. Lively alleged or how

“far” those allegations went, her CRD Complaint is protected. There is no requirement that

pleadings include only the bare minimum of facts.

                  c.     The Sexual Harassment Privilege Protects Ms. Lively’s Statements.

       Plaintiffs argue that the sexual harassment privilege does not apply because “Wallace has

alleged actual malice” and that one statement—that Plaintiffs “weaponized a digital army around

the country from New York to Los Angeles to create, seed, and promote content that appeared to

be authentic on social media platforms and internet chat forums” (out of many)—is not covered

by the privilege. Opp. at 25. 17 Plaintiff ignore that the sexual harassment privilege protects

statements about not only harassment and retaliation, but also aiding and abetting the same—

including by executing a “social combat plan.” Further, Plaintiffs do not adequately allege that

Ms. Lively made the statements even with negligence, let alone actual malice. Moreover, the broad

immunity provided by the sexual harassment privilege 18 covers that one statement because it is

“related to an incident of sexual assault, harassment, or discrimination” (Cal. Civ. Code § 47.1(d)),

which is why it is included in the CRD Complaint. 19

                                         II. CONCLUSION

           Ms. Lively respectfully requests that this Court dismiss this case with prejudice and award

her attorney’s fees and costs under Cal. Code Civ. Proc. § 425.16(c)(1) and Cal. Civ. Code §

47.1(b).




17
   Plaintiffs do not dispute and thus concede that the other statements are subject to the sexual
harassment privilege and that it applies to communications to the press. Cal. Civ. Code § 47.1(a);
Stratta, 2021 WL 1199634, at *6.
18
   Dkt. 26-17.
19
   The privilege applies to communications about “an act of retaliation against a person for
reporting or opposing workplace harassment or discrimination.” Cal. Civ. Code § 47.1(d)(3).


DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS                                                  15
     Case 1:25-cv-00163-DAE          Document 32        Filed 06/23/25      Page 20 of 20




                                                     Respectfully submitted,

                                                      /s/ Laura Lee Prather
                                                     Laura Lee Prather
                                                     Texas Bar No. 16234200
                                                     laura.prather@haynesboone.com
                                                     Catherine L. Robb
                                                     Texas Bar No. 24007924
                                                     catherine.robb@haynesboone.com
                                                     Michael J. Lambert
                                                     Texas Bar No. 24128020
                                                     michael.lambert@haynesboone.com
                                                     Reid Pillifant
                                                     Texas Bar No. 24126157
                                                     reid.pillifant@haynesboone.com

                                                     HAYNES AND BOONE, LLP
                                                     98 San Jacinto Blvd., Suite 1500
                                                     Austin, Texas 78701
                                                     Telephone: (512) 867-8400
                                                     Facsimile: (512) 867-8470

                                                     ATTORNEYS FOR DEFENDANT
                                                     BLAKE LIVELY




                               CERTIFICATE OF SERVICE

       The undersigned certifies that on the 20th day of June 2025, a true and correct copy of the

above document was served via the CM/ECF system to all counsel of record.


                                               /s/ Laura Lee Prather
                                               Laura Lee Prather




DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS                                              16
